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                                                                   ·2· · · · (On the record 9:00 a.m.)
     ·3· ·ON BEHALF OF THE PLAINTIFF(S):
     ·4· · · · RICHARD B. PODOLL, ESQUIRE                          ·3· · · · VIDEOGRAPHER:· We are now on the video
     · · · · · PODOLL & PODOLL, P.C.                               ·4· ·record.· The time is 9:00 Mountain time
     ·5· · · · 5619 DTC PARKWAY, SUITE 1100                        ·5· ·March 1, 2022.· This begins the videotaped
     · · · · · GREENWOOD VILLAGE, COLORADO 80111
                                                                   ·6· ·deposition of Aaron Fleck taken in the
     ·6· · · · 303-861-4000
     · · · · · RICH@PODOLL.NET                                     ·7· ·matter of the Aaron H. Fleck Revocable Trust
     ·7                                                            ·8· ·through its trustees, Aaron H Fleck and
     ·8                                                            ·9· ·Barbara G. Fleck, the Barbara G. Fleck
     ·9· ·ON BEHALF OF THE DEFENDANT(S):
                                                                   10· ·Revocable Trust through its trustees Aaron
     10· · · · ADAM B. STERN, ESQUIRE
     · · · · · BRYAN CAVE LEIGHTON PAISNER, LLP
                                                                   11· ·H. Fleck and Barbara G. Fleck, Aaron Fleck
     11· · · · 1700 LINCOLN STREET, SUITE 4100                     12· ·and Barbara G. Fleck versus First Western
     · · · · · DENVER, COLORADO 80203                              13· ·Trust Bank, Charles Bantis, and Andrew
     12· · · · 303-861-7000                                        14· ·Godfrey, filed in the United States District
     · · · · · ADAM.STERN@BCLPLAW.COM
     13
                                                                   15· ·Court for the District of Colorado, case
     14                                                            16· ·number of which is 21-cv-01073-CMA-GPG.
     15· ·ALSO APPEARING:                                          17· · · · I'm Ralph Mitchell your remote
     16· · · · TIMOTHY R. BEYER, CO-COUNSEL WITH MR. STERN         18· ·videographer.· The court reporter is
     17· · · · LAURA J. KNOPP, CO-COUNSEL WITH MR. PODOLL
     18· · · · ROBERT PODOLL, CO-COUNSEL WITH MR. RICH PODOLL
                                                                   19· ·Jennifer Cormican and we represent Esquire
     19· · · · VIDEOGRAPHER, RALPH MITCHELL                        20· ·Deposition Solutions.· Counsel, at this
     20· · ·**All parties appearing via Zoom videoconference**     21· ·time, if you would please state your names
     21                                                            22· ·and whom you represent, afterwards the court
     22
                                                                   23· ·reporter will swear in the witness.
     23
     24                                                            24· · · · MR. RICH PODOLL:· Richard Podoll
     25                                                            25· ·representing the plaintiffs.




                                                                                                                   Ex. C
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     ·1· · · · · · ·Form.                                        ·1· ·for people.
     ·2· · · · A· · First, I could not take a loss               ·2· · · · Q· · Why did you do that?
     ·3· ·indiscriminately.· Every time there was a loss, I      ·3· · · · A· · And they all benefited many times, maybe a
     ·4· ·asked them whether it would give him an advantage.· To ·4· ·hundred times by doing that.
     ·5· ·offset against profits or otherwise, whether he would  ·5· · · · Q· · And why did they benefit?
     ·6· ·like to do it, and they had the choice.                ·6· · · · A· · Because in 1974 to the present time, I can't
     ·7· ·BY MR. STERN:                                          ·7· ·tell you how many times the market is up, in the
     ·8· · · · Q· · Okay.· When you were a portfolio manager,    ·8· ·thousands.· And if they invested in 1974, like we did,
     ·9· ·did you ever have clients who chose not to harvest     ·9· ·and every one of our clients did, they made a lot of
     10· ·short-term capital losses?                             10· ·money.
     11· · · · A· · I can't recall that.· I had -- I had many    11· · · · Q· · So do you agree that if you sell a security
     12· ·clients at one time and a lot of clients.· I can't     12· ·and hold the proceeds in cash, it's possible that
     13· ·recall.                                                13· ·you'll end up missing appreciation in the stock
     14· · · · Q· · You agree that a potential downside of       14· ·market?
     15· ·harvesting tax losses is that the security holder      15· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     16· ·cannot buy back the same security for 31 days, and     16· · · · A· · You really can't answer a question like
     17· ·therefore, may miss appreciation in the security over  17· ·that.· You have to give me facts, then I can answer a
     18· ·that 31-day period?                                    18· ·question.
     19· · · · · · · · · MR. ROB PODOLL:· Object.· Form.         19· ·BY MR. STERN:
     20· · · · A· · Well, usually, if they sold a security, they 20· · · · Q· · So as a portfolio manager assessing whether
     21· ·would buy a similar security, maybe the same field,    21· ·to harvest a capital loss for a client, was it
     22· ·maybe in another field and that security will probably 22· ·important to understand all the facts and
     23· ·go up more than had he kept it.                        23· ·circumstances specific to that client?
     24· ·BY MR. STERN:                                          24· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     25· · · · Q· · Okay.· So I guess there is a few different   25· · · · A· · At all times, you must understand your

                                                            Page 62                                                         Page 64
     ·1· ·things you could do with the proceeds from a security       ·1· ·client first.
     ·2· ·sale for tax purposes, and I want to ask, I guess what      ·2· ·BY MR. STERN:
     ·3· ·those different alternatives are.· So I guess, to your      ·3· · · · Q· · As a portfolio manager, would it be
     ·4· ·knowledge, what are the options that someone has for        ·4· ·imprudent to make one decision to sell a security on
     ·5· ·use of the proceeds of a sale of a security for tax         ·5· ·behalf of all your clients at the same time?
     ·6· ·purposes?                                                   ·6· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     ·7· · · · · · · · · MR. ROB PODOLL:· Object.· Form.              ·7· · · · A· · A client is a separate person.· You think of
     ·8· · · · A· · I'd have to think about them all and there        ·8· ·each client separately.
     ·9· ·too many and we don't have enough time today to go          ·9· ·BY MR. STERN:
     10· ·into all of them and the reasons for it.                    10· · · · Q· · And what type of factors specific to each
     11· ·BY MR. STERN:                                               11· ·client, would affect your decision as of portfolio
     12· · · · Q· · Okay.· Well, one thing you could do is, you       12· ·manager of whether or not to sell a particular stock?
     13· ·could hold the money in cash, the proceeds that you         13· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     14· ·get from the sale of a security, right?                     14· · · · A· · God, that's such a general question.· It's
     15· · · · A· · Yes.                                              15· ·difficult to answer a general question without getting
     16· · · · · · · · · MR. ROB PODOLL:· Object to form.             16· ·facts.· Every client is different.
     17· ·BY MR. STERN:                                               17· ·BY MR. STERN:
     18· · · · Q· · And when you were a portfolio manager, did        18· · · · Q· · I guess, are you not able to tell me,
     19· ·you ever sell stock to harvest a loss and then hold         19· ·generally speaking, what factors would affect your
     20· ·the proceeds from that sale in cash?                        20· ·decision of whether or not to sell a security for a
     21· · · · · · · · · MR. ROB PODOLL:· Object.· Form.              21· ·particular client?
     22· · · · A· · I can't recall, but I probably did.               22· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     23· ·BY MR. STERN:                                               23· · · · A· · That is the job of the money manager, to
     24· · · · Q· · So in the --                                      24· ·understand his client, his financial condition, what
     25· · · · A· · In 1969, we sold stock and held cash to 1974      25· ·are all the factors in his life.· And each client is


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     ·1· · · · Q· · So is an IRA account an exception to your      ·1· ·unrealized losses in the trust brokerage accounts; is
     ·2· ·rule that the portfolio manager should always take       ·2· ·that correct?
     ·3· ·short-term capital losses?                               ·3· · · · A· · Yes.
     ·4· · · · · · · · · MR. ROB PODOLL:· Object.· Form.         ·4· · · · Q· · Okay.· And at that time, did you provide
     ·5· · · · A· · It's an exception, yes, because no person in ·5· ·written instructions to First Western Trust Bank to
     ·6· ·their right mind would take a loss if you can't use    ·6· ·harvest those tax losses?
     ·7· ·it.                                                    ·7· · · · A· · I told five people in the conference room
     ·8· ·BY MR. STERN:                                          ·8· ·and the man who was on the Zoom call, I think it was a
     ·9· · · · Q· · Are you aware of any types of investment     ·9· ·Zoom call, Barrett or something --
     10· ·accounts, besides IRA accounts, where the loss cannot 10· · · · · · · · · (Deponent cell phone ringing.)
     11· ·be used to offset gains?                               11· · · · A· · -- and they all looked at me and said, we
     12· · · · · · · · · MR. ROB PODOLL:· Object.· Form.         12· ·didn't take tax -- well, we don't know about tax loss.
     13· · · · A· · I cannot -- well, my memory -- I can't think 13· ·But the man in there had blank looks and said this is
     14· ·of any right now because I just can't -- just don't    14· ·the strange item.· And then finally, they -- the young
     15· ·know, now, here today.                                 15· ·man said, I didn't know about that, because he just
     16· ·BY MR. STERN:                                          16· ·passed his exam and I thought they were going to take
     17· · · · Q· · Who was responsible for communicating with   17· ·tax losses.· I gave them oral instructions.· I don't
     18· ·First Western Trust on behalf of the trusts?           18· ·think you'll find a letter in the file that I wrote to
     19· · · · A· · On behalf of the trusts, would be me.        19· ·them.
     20· · · · Q· · Okay.· Did your wife Barbara, to your        20· · · · Q· · Okay.
     21· ·knowledge, ever communicate with First Western Trust 21· · · · · · · · · MR. STERN:· I see it's 12:01.· I mean,
     22· ·Bank about the trust brokerage accounts?               22· · · · · · ·I could go on this topic for another five to
     23· · · · A· · I don't know.                                23· · · · · · ·ten minutes.· Do you want to take a break
     24· · · · Q· · When was the first time that you talked to   24· · · · · · ·now, Rich, or do you want to keep going?
     25· ·First Western Trust Bank about tax losses relating to  25· · · · · · · · · MR. ROB PODOLL:· Actually, this is Rob.

                                                            Page 82                                                       Page 84
     ·1· ·the trust brokerage accounts?                          ·1· · · · · · · · · MR. STERN:· Rob.
     ·2· · · · A· · Well, before they had the account, I think   ·2· · · · · · · · · MR. ROB PODOLL:· Let's ask Aaron,
     ·3· ·they told me they take them or it may have been in the ·3· · · · · · ·because to me this is just getting
     ·4· ·document, I don't remember.· But, I think it was late  ·4· · · · · · ·interesting.· Let's see what Aaron wants to
     ·5· ·November or the first week in December.· I can't give  ·5· · · · · · ·do.· Aaron, would you like to go another
     ·6· ·you the exact date.· When I met with them and told     ·6· · · · · · ·five, ten minutes on this topic or do you
     ·7· ·them we had -- well, before that, taking losses, when  ·7· · · · · · ·want to take lunch?
     ·8· ·I met with Charlie Bantis and he gave me the loan, he  ·8· · · · · · · · · THE WITNESS:· I can go four straight
     ·9· ·knew then that we had a potential $5 million gain.     ·9· · · · · · ·hours.· I'm 101, I can go four straight
     10· ·And I think I talked to Andrew Godfrey and there was   10· · · · · · ·hours.
     11· ·another young man, I forget his name, that we had huge 11· · · · · · · · · MR. ROB PODOLL:· Probably more than I
     12· ·losses.· I was in that office many times from May to   12· · · · · · ·can.· Are you good for another five, ten
     13· ·December because I deposited income checks.· So I      13· · · · · · ·minutes on this?
     14· ·can't tell you how many times I spoke to them.         14· · · · · · · · · THE WITNESS:· Sure.
     15· · · · Q· · Between May and December 2018, were you in 15· · · · · · · · · MR. ROB PODOLL:· Okay.· Yeah, okay with
     16· ·regular contact with employees of First Western Trust  16· · · · · · ·us if you want to keep going for another
     17· ·Bank regarding the trusts brokerage accounts?          17· · · · · · ·five or ten.
     18· · · · A· · It not regarding the trust accounts, a few   18· · · · · · · · · MR. STERN:· Great.
     19· ·times, but not many.                                   19· ·BY MR. STERN:
     20· · · · Q· · Okay.· Did you ever instruct First           20· · · · Q· · Okay.· Mr. Fleck, are you aware of any time
     21· ·Western --                                             21· ·when you sent a letter, email, or writing to First
     22· · · · A· · The first -- the first time I noticed tax    22· ·Western Trust Bank instructing them to take the
     23· ·losses was in late November or December.               23· ·capital losses available in the trust brokerage
     24· · · · Q· · Okay.· So as of either late November 2018 or 24· ·accounts in 2018?
     25· ·early of December 2018, you knew that there were       25· · · · A· · I don't remember writing them a letter.


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     ·1· · · · Q· · Okay.· Who are the five people in the        ·1· · · · Q· · Okay.
     ·2· ·meeting that you claim you told to take tax losses?    ·2· · · · A· · But I may have been in there on deposits,
     ·3· · · · A· · Charles Bantis; Andy Godfrey; I think his    ·3· ·check deposits, but I don't recall.
     ·4· ·name was Paul; it was a man, I believe from Denver     ·4· · · · Q· · Do you have any recollection of following up
     ·5· ·there, a trust officer or something; and a lady -- I   ·5· ·with anyone at First Western in December 2018 to ask
     ·6· ·don't know what her name, maybe Elaine, I believe.     ·6· ·whether they had taken additional tax losses in the
     ·7· ·She was also an officer and then they had on the Zoom  ·7· ·trust account?
     ·8· ·call, this man who was supposed to be, I thought, the  ·8· · · · A· · I don't recall that.
     ·9· ·head of their trust department, or he was their        ·9· · · · Q· · Okay.· Do you have access to the trust
     10· ·manager or something.· And I do not remember his name. 10· ·accounts online?
     11· · · · Q· · Okay.· And to the best of your recollection, 11· · · · · · · · · MR. ROB PODOLL:· Are you asking
     12· ·what specifically did you say during this meeting to   12· · · · · · ·presently?
     13· ·First Western regarding tax losses?                    13· · · · A· · Do I have -- I never -- I don't know how to
     14· · · · A· · "You gave me a statement, I noticed you took 14· ·use those to get documents.· I have an assistant that
     15· ·$149,000 in short-term losses.· I commend you for it,  15· ·gets some for me and I don't think I ever put the
     16· ·that's good, I wanted you to do it.· You knew that.    16· ·accounts on my computer or had anybody do it for me.
     17· ·But, you have 575,000 of additional losses.· It's      17· ·BY MR. STERN:
     18· ·crazy that you had, but you had it.· You must take     18· · · · Q· · Who was your assistant in 2018?
     19· ·them because I have a huge capital gain on the sale of 19· · · · A· · I'm trying to think of her name.· I have to
     20· ·my property."                                          20· ·think of her name.
     21· · · · Q· · Okay.· Did you take any notes at this        21· · · · Q· · Okay.· In 2018, did you ever ask your
     22· ·meeting?                                               22· ·assistant to go online and get the latest statement
     23· · · · A· · No.                                          23· ·for your First Western accounts?
     24· · · · Q· · Do you have any written records supporting   24· · · · A· · I never showed her our accounts or asked her
     25· ·the fact that you supposedly told First Western to     25· ·anything about our accounts.· She wasn't really an

                                                                 Page 86                                                                 Page 88
     ·1· ·take additional tax losses in 2018?                              ·1· ·assistant, she was a clerk.· I have an assistant now.
     ·2· · · · A· · I -- I don't have -- you know, I knew                  ·2· · · · Q· · How did you receive your account statements
     ·3· ·Charlie Bantis and had done business with him for over           ·3· ·for your First Western accountant in 2018?
     ·4· ·20 years.· I knew Andy Godfrey who was the best man at ·4· · · · A· · The first one I got was in November, as I
     ·5· ·my daughter's wedding, not best man, an usher. I       ·5· ·recall.
     ·6· ·trusted these people.· When I tell them to do                    ·6· · · · Q· · Would you get them in the mail?
     ·7· ·something, I thought they would do it.· I don't know             ·7· · · · A· · I don't recall.· I think Andy handed it to
     ·8· ·whether they took notes.· I don't think they did, but            ·8· ·me -- no, I may have gotten them in the mail.· I may
     ·9· ·maybe they did.· I didn't see anybody writing.· All I            ·9· ·have had statements before, I don't recall, but the
     10· ·saw was blank faces when I said, take all the losses             10· ·first one that I really looked out was in November. I
     11· ·that you can.                                                    11· ·was letting them manage.· You can't look at your
     12· · · · Q· · Okay.· Well, my question was different.· My            12· ·portfolios every week or every month.· I didn't care.
     13· ·question was:· Do you have any written records                   13· ·If I gave them management, I gave them management and
     14· ·supporting your allegation that you told First Western           14· ·I can't expect month-to-month results.· I didn't want
     15· ·at a meeting to take additional tax losses for the               15· ·anybody to ask me to give them month-to-month results,
     16· ·trusts?                                                          16· ·and I trusted them.
     17· · · · A· · I have answered the question the best way I            17· · · · Q· · Okay.
     18· ·can.                                                             18· · · · · · · · · MR. STERN:· I think this is a good time
     19· · · · Q· · Okay.· Other than the in-person meeting that           19· · · · · · ·to take a break.· Why don't we take a lunch
     20· ·we just discussed, was there any other time in 2018              20· · · · · · ·break.· How long would you guys like to
     21· ·when you told anyone at First Western to take                    21· · · · · · ·take?
     22· ·additional tax losses in the trust accounts?                     22· · · · · · · · · MR. ROB PODOLL:· I've got to run some
     23· · · · A· · I may have, if I came into the bank, but I             23· · · · · · ·errands that I've got to get done which were
     24· ·don't recall.· I think my next visit was in January              24· · · · · · ·scheduled before Rich surprised me with this
     25· ·after I received the statements.                                 25· · · · · · ·little ceremony.· I can be back at 1:30 or


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     ·1· · · · A· · What's the number on the bottom?                  ·1· ·sold a bunch of securities and bought a bunch of
     ·2· · · · Q· · On the bottom it says, FLECK_001724.              ·2· ·securities, without -- against my advice.
     ·3· · · · A· · I'm looking at the wrong sheet.· I need my        ·3· · · · Q· · Okay.· So my question, though, is different.
     ·4· ·magnifying glass to read this.                              ·4· · · · A· · The only difference, (crosstalk, inaudible.)
     ·5· · · · · · · · · MR. ROB PODOLL:· I was sort of thinking      ·5· ·in actuality and could have.· They did it.
     ·6· · · · · · ·the same way.· Can the exhibit on the screen      ·6· · · · Q· · Okay.· But my question is:· Do you have a
     ·7· · · · · · ·be enlarged?                                      ·7· ·position on -- okay, let me start over.· Do you agree
     ·8· · · · · · · · · MR. STERN:· Yes.                             ·8· ·that if First Western had sold Dodge & Cox Income Fund
     ·9· · · · · · · · · MR. ROB PODOLL:· Beautiful.· Thank you.      ·9· ·at a lost in December 2018, it could have chosen to
     10· ·BY MR. STERN:                                               10· ·either hold the funds in cash, buy back a different
     11· · · · Q· · Aaron, you're welcome to look at the screen.      11· ·security, or buy back the same security 31 days later?
     12· ·I've zoomed in on the screen or you can look at your        12· · · · A· · Yes.
     13· ·hard copy, whatever you prefer.· But, do you see on         13· · · · Q· · And do you agree that each of those three
     14· ·the top line it shows Dodge & Cox Income Fund and it        14· ·decisions would have a different economic impact on
     15· ·shows there's an unrealized loss in that security of        15· ·the trusts accounts?
     16· ·$11,456.52?                                                 16· · · · A· · It depends.· I can't tell you that now.
     17· · · · A· · Yes.                                              17· · · · Q· · What does it depend on?
     18· · · · Q· · Okay.· Is your position that First Western        18· · · · A· · Depends on whether they bought it back at
     19· ·was required to sell Dodge & Cox Income Fund in             19· ·the same price, a lower price, or a higher price.
     20· ·December 2018?                                              20· · · · Q· · Okay.· Did you give First Western
     21· · · · A· · Well, I hope you listened to my testimony.        21· ·instructions --
     22· ·They should have, but are they required?· That's up to      22· · · · A· · But the one thing you failed to realize in
     23· ·them.· I expected that they would have.                     23· ·all of your questioning, they had authority to do
     24· · · · Q· · Okay.                                             24· ·that, they had full discretion.
     25· · · · A· · And they were under instructions to sell all      25· · · · Q· · Okay.· Did you ever give First Western --

                                                          Page 98                                                       Page 100
     ·1· ·losses.                                                ·1· · · · A· · And -- and they used it several times.
     ·2· · · · Q· · Okay.                                        ·2· · · · Q· · Okay.· Did you ever give First Western
     ·3· · · · A· · Now, is that the gain or -- I'm just looking ·3· ·instructions about what to do with the proceeds that
     ·4· ·at the statement, this is a portfolio.· This was a     ·4· ·would be generated by harvesting tax losses in 2018?
     ·5· ·bond fund, I guess.                                    ·5· · · · A· · No.
     ·6· · · · Q· · Okay.· On what day should First Western have ·6· · · · Q· · Do you believe -- strike that.· Do you claim
     ·7· ·sold the Dodge & Cox Income Fund security?             ·7· ·that the defendants in this case chose not to harvest
     ·8· · · · A· · Their option from December 1st to December   ·8· ·tax losses for the trust account in bad faith?
     ·9· ·31st, anytime during the month.                        ·9· · · · A· · I cannot answer what's in their mind.
     10· · · · Q· · Okay.· What, according to you, should First  10· · · · Q· · Okay.· Do you contend that the defendants
     11· ·Western Trust Bank have done with the proceeds from    11· ·received any personal benefit by not harvesting tax
     12· ·selling Dodge & Cox Income Fund security?              12· ·losses for the trusts in December 2018?
     13· · · · A· · It's up to them.· They had authority to do   13· · · · A· · I can't answer that question without knowing
     14· ·whatever they wanted to, but I had hoped, as a client, 14· ·all the full facts of the bank.
     15· ·that they would have called me and said, we have so    15· · · · Q· · Okay.· Sitting here today, do you contend
     16· ·much cash in the funds and we would like to buy or do  16· ·that the bank failed to harvest tax losses in the
     17· ·something with the funds.                              17· ·trust account intentionally?
     18· · · · Q· · Okay.· So do you agree that if First Western 18· · · · A· · I think it was negligence.
     19· ·had sold Dodge & Cox Income Fund in December of 2018 19· · · · Q· · Okay.· Do you contend, sitting here today,
     20· ·for the Barbara Fleck trust account, it could have     20· ·that the bank acted with gross negligence when it did
     21· ·bought a different security, held the proceeds in      21· ·not harvest tax losses for the trust in December 2018?
     22· ·cash, or bought back the same security 31 days later?  22· · · · · · · · · MR. ROB PODOLL:· Object.· Form.
     23· · · · A· · Well, they actually did that.                23· · · · A· · Yes.
     24· · · · Q· · What do you mean by that?                    24· ·BY MR. STERN:
     25· · · · A· · If you look in the January statement, they   25· · · · Q· · Okay.· And tell me every reason that you


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